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                      IN THE UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF ARKANSAS
                                WESTERN DIVISION

ANTOINE SCOTT                                                                      PLAINTIFF

v.                              Case No. 4:19-cv-00044-KGB

UNION PACIFIC RAILROAD COMPANY                                                    DEFENDANT

                                           ORDER

       Before the Court is a motion for leave to withdraw filed by defendant Union Pacific

Railroad Company (“Union Pacific”) (Dkt. No. 21). In the motion, Khayyam M. Eddings

respectfully moves for leave to withdraw as counsel for Union Pacific in this case (Id.). Mr.

Eddings represents that Union Pacific will be represented going forward by Abtin Mehdizadegan

and Caitlin Campbell from Cross, Gunter, Witherspoon & Galchus, P.C. (Id.). For good cause

shown, the Court grants the motion for leave to withdraw (Dkt. No. 21). The Court directs the

Clerk to terminate Mr. Eddings as counsel of record for Union Pacific. The Court notes that Mr.

Mehdizadegan and Ms. Campbell have both entered an appearance as counsel for Union Pacific

(Dkt. Nos. 16, 17). Therefore, Union Pacific will continue to be represented by Mr. Mehdizadegan

and Ms. Campbell.

       It is so ordered this 25th day of November, 2019.


                                                   _______________________
                                                   Kristine G. Baker
                                                   United States District Judge
